  Case 1:20-cr-00555-VM Document 18 Filed 11/09/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------X                               11/09/2020
UNITED STATES OF AMERICA,        :
                                 :
                                 :              20 CR 555(VM)
          -against-              :                 ORDER
                                 :
JOSE CIRIACO,                    :
                                 :
                  Defendant.     :
---------------------------------X
VICTOR MARRERO, U.S.D.J.:


     The status conference in the above captioned matter

scheduled for Friday, November 13, shall be set at 2:00 PM. In

light of the ongoing public health emergency, the status

conference shall be a teleconference. The parties are directed

to use the dial-in number 888-363-4749, with access code 8392198.

     The parties are further directed to review the Court’s

Emergency Individual Rules and Practices in Light of COVID-19,

available on the Court’s website:

https://nysd.uscourts.gov/hon-victor -marrero.


SO ORDERED:

Dated:     New York, New York
           9 November 2020
